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                                          COUNTY OF ERIE
                                       LOCAL LAW NO. _______
                                     LOCAL LAW INTRO. NO. 3-2011


A LOCAL LAW in relation to the reapportionment of legislative districts in the County of Erie.

BE IT ENACTED BY THE LEGISLATURE OF ERIE COUNTY AS FOLLOWS:

Section 1.

Pursuant to the authority granted by Section 33 of the municipal home rule law of the state of New York, Erie
County Local Law Number One of nineteen hundred fifty-nine, constituting the Erie County Charter, as
amended, is hereby amended by amending section one hundred five thereof, to read as follows:

Section 105. Legislative Districts. The county of Erie is hereby divided into eleven districts, described as
follows:
                                            DISTRICT NO. 1

The city of Lackawanna and those portions of the city of Buffalo and town of Hamburg bounded and
described as follows:

That part of the city of Buffalo bounded by a line described as commencing at a point in the southerly line
of the city of Buffalo at its intersection with the city of Lackawanna and town of West Seneca; thence easterly
along the southerly boundary of the city of Buffalo to the southeast corner thereof; thence northerly along
the easterly boundary of the city of Buffalo to the point of its intersection with Potters Road; thence
continuing northwesterly along said easterly boundary of the city of Buffalo on a line extended to the point
of its intersection with the center line of Cazenovia Creek; thence northwesterly along the center line of
Cazenovia Creek to its point of intersection with the center line of Stevenson Street; thence northeasterly
along the center line of Stevenson Street to the center line of Seneca Street; thence northwesterly along the
center line of Seneca Street to the center line of Bailey Avenue; thence northerly along the center line of
Bailey Avenue to the center line of Broadway Street; thence southwesterly along the center line of Broadway
Street to the center line of Wilson Street; thence southerly along the center line of Wilson Street to the center
line of William Street; thence easterly along the center line of William Street to the center line of Fillmore
Avenue; thence southerly along the center line of Fillmore Avenue to the center line of Howard Street; thence
westerly along the center line of Howard Street to the center line of Smith Street; thence southerly along the
center line of Smith Street to the center line of James Street; thence northwesterly along the center line of
James Street to the center line of Lord Street; thence southerly along the center line of Lord Street to the
center line of N. Division Street; thence northwesterly along the center line of N. Division Street to the center
line of Emslie Street; thence southerly and southwesterly along the center line of Emslie Street to its point
of intersection with the center line of Seneca Street; thence continuing southwesterly and northwesterly along
the center line of Seneca Street to the center line of Hamburg Street; thence northeasterly along the center line
of Hamburg Street to the center line to Swan Street; thence northwesterly along the center line of Swan Street
to the center line of Chicago Street; thence southwesterly along the center line of Chicago Street to the center
line of Exchange Street; thence northwesterly along the center line of Exchange Street to the center line of
Washington Street; thence southwesterly along the center line of Washington Street to the point of its
intersection with the line of Interstate 190; thence northwesterly along the line of Interstate 190 to the point
of its intersection with the center line of Porter Avenue; thence northeasterly along the center line of Porter
Avenue to the center line of 7 th Street (also designated as Columbus Parkway); thence northwesterly along
the center line of 7 th Street (also designated as Columbus Parkway) to the center line of Rhode Island Street;
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thence southwesterly along the center line of Rhode Island Street to the center line of Busti Avenue; thence
northwesterly along the center line of Busti Avenue to the point of its intersection with the center line of
Massachusetts Avenue; thence southerly and westerly along the lines defined by the Peace Bridge Plaza and
infrastructure to a point in the Niagara River being at the westerly boundary of the city of Buffalo; thence
southerly along the westerly boundary of the city of Buffalo to the southwest corner thereof; thence easterly
along the southerly boundary of the city of Buffalo to the point of beginning; and

That part of the town of Hamburg bounded by a line described as commencing at the northeast corner of the
town of Hamburg at its intersection with the city of Lackawanna; thence southerly along the easterly
boundary of the town of Hamburg to the point of its intersection with the center line of Armor Drive; thence
northwesterly along the center line of Armor Drive to the center line of Clark Street; thence southwesterly
along the center line of Clark Street to the center line of Maplewood Drive; thence westerly along the center
line of Maplewood Drive to the center line of Oakridge Drive; thence northerly along the center line of
Oakridge Drive to the center line of Bay View Road; thence northwesterly along the center line of Bay View
Road to its point of intersection with the center line of Sowles Road; thence continuing westerly along the
center line of Sowles Road to the center line of Fairgrounds Road; thence southerly along the center line of
Fairgrounds Road to its intersection with the Conrail tracks; thence southwesterly along the Conrail tracks
to its intersection with the center line of S. Park Avenue; thence southerly along the center line of S. Park
Avenue to its intersection with the northerly boundary of the village of Hamburg; thence westerly, northerly,
westerly and southerly along the northerly boundary of the village of Hamburg to its intersection with the
center line of Legion Drive; thence northwesterly along the center line of Legion Drive to the center line of
Camp Road; thence northwesterly along the center line of Camp Road to the center line of Southwestern
Boulevard; thence southwesterly along the center line of Southwestern Boulevard to the center line of Rogers
Road; thence northwesterly along the center line of Rogers Road to the center line of Morgan Parkway;
thence southwesterly along the center line of Morgan Parkway to the center line of Shenandoah Drive; thence
northwesterly along the center line of Shenandoah Drive to the center line of Chapman Parkway; thence
northeasterly along the center line of Chapman Parkway to the center line of Avery Drive; thence
northwesterly along the center line of Avery Drive proceeding counterclockwise around the roundabout to
the center line of Mount Vernon Boulevard; thence northeasterly along the center line of Mount Vernon
Boulevard to the center line of Rogers Road; thence northwesterly along the center line of Rogers Road to
the center line of Lake Shore Road; thence northerly along the center line of Lake Shore Road to the point
of its intersection with the center line of the Berricks Creek; thence northwesterly along the center of the
estuary of the Berricks Creek extended to a point in Lake Erie being at the westerly boundary of the town of
Hamburg; thence northerly along the westerly boundary of the town of Hamburg to the northwest corner
thereof; thence easterly along the northerly boundary of the town of Hamburg to the northeast corner thereof,
being the point of beginning.

                                             DISTRICT NO. 2

The towns of Boston, Brant, Collins, Concord, Eden, Evans and North Collins, including that portion of the
Cattaraugus Indian Reservation situated therein, and that portion of the town of Hamburg bounded and
described as follows:

That part of the town of Hamburg bounded by a line described as commencing at the southeast corner of the
town of Hamburg at its intersection with the towns of Orchard Park and Boston; thence northerly along the
easterly boundary of the town of Hamburg to the point of its intersection with the center line of Armor Drive;
thence northwesterly along the center line of Armor Drive to the center line of Clark Street; thence
southwesterly along the center line of Clark Street to the center line of Maplewood Drive; thence westerly
along the center line of Maplewood Drive to the center line of Oakridge Drive; thence northerly along the
center line of Oakridge Drive to the center line of Bay View Road; thence northwesterly along the center line
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of Bay View Road to its point of intersection with the center line of Sowles Road; thence continuing westerly
along the center line of Sowles Road to the center line of Fairgrounds Road; thence southerly along the center
line of Fairgrounds Road to its intersection with the Conrail tracks; thence southwesterly along the Conrail
tracks to its intersection with the center line of S. Park Avenue; thence southerly along the center line of S.
Park Avenue to its intersection with the northerly boundary of the village of Hamburg; thence westerly,
northerly, westerly and southerly along the northerly boundary of the village of Hamburg to its intersection
with the center line of Legion Drive; thence northwesterly along the center line of Legion Drive to the center
line of Camp Road; thence northwesterly along the center line of Camp Road to the center line of
Southwestern Boulevard; thence southwesterly along the center line of Southwestern Boulevard to the center
line of Rogers Road; thence northwesterly along the center line of Rogers Road to the center line of Morgan
Parkway; thence southwesterly along the center line of Morgan Parkway to the center line of Shenandoah
Drive; thence northwesterly along the center line of Shenandoah Drive to the center line of Chapman
Parkway; thence northeasterly along the center line of Chapman Parkway to the center line of Avery Drive;
thence northwesterly along the center line of Avery Drive proceeding counterclockwise around the
roundabout to the center line of Mount Vernon Boulevard; thence northeasterly along the center line of Mount
Vernon Boulevard to the center line of Rogers Road; thence northwesterly along the center line of Rogers
Road to the center line of Lake Shore Road; thence northerly along the center line of Lake Shore Road to the
point of its intersection with the center of the Berricks Creek; thence northwesterly along the center of the
estuary of the Berricks Creek extended to a point in Lake Erie being at the westerly boundary of the town of
Hamburg; thence southerly along the westerly boundary of the town of Hamburg to the southwest corner
thereof; thence easterly along the southerly boundary of the town of Hamburg to the southeast corner thereof,
being the point of beginning.

                                               DISTRICT NO. 3

Those portions of the city of Buffalo and town of Cheektowaga bounded and described as follows:

That part of the city of Buffalo bounded by a line described as commencing at the point of intersection of the
easterly boundary of the city of Buffalo with the center line of Broadway Street; thence southwesterly along
the center line of Broadway Street to the center line of Wilson Street; thence southerly along the center line
of Wilson Street to the center line of William Street; thence easterly along the center line of William Street
to the center line of Fillmore Avenue; thence southerly along the center line of Fillmore Avenue to the center
line of Howard Street; thence westerly along the center line of Howard Street to the center line of Smith
Street; thence southerly along the center line of Smith Street to the center line of James Street; thence
northwesterly along the center line of James Street to the center line of Lord Street; thence southerly along
the center line of Lord Street to the center line of N. Division Street; thence northwesterly along the center
line of N. Division Street to the center line of Emslie Street; thence southerly and southwesterly along the
center line of Emslie Street to its point of intersection with the center line of Seneca Street; thence continuing
southwesterly and northwesterly along the center line of Seneca Street to the center line of Hamburg Street;
thence northeasterly along the center line of Hamburg Street to the center line to Swan Street; thence
northwesterly along the center line of Swan Street to the center line of Chicago Street; thence southwesterly
along the center line of Chicago Street to the center line of Exchange Street; thence northwesterly along the
center line of Exchange Street to the center line of Washington Street; thence southwesterly along the center
line of Washington Street to the point of its intersection with the line of Interstate 190; thence northwesterly
along the line of Interstate 190 to the point of its intersection with the center line of Porter Avenue; thence
northeasterly along the center line of Porter Avenue to its point of intersection with the center line of York
Street; thence continuing northeasterly along the center line of York Street to the center line of 16 th Street;
thence northwesterly along the center line of 16 th Street to the center line of Connecticut Street; thence
northeasterly along the center line of Connecticut Street to the center line of Richmond Avenue; thence
northerly along the center line of Richmond Avenue proceeding clockwise around the roundabout to the
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center line of W. Ferry Street; thence westerly along the center line of W. Ferry Street to the center line of
S. Putnam Street; thence northerly along the center line of S. Putnam Street to the center line of Breckenridge
Street; thence easterly along the center line of Breckenridge Street to the center line of Putnam Street; thence
northerly along the center line of Putnam Street to the center line of Auburn Avenue; thence westerly along
the center line of Auburn Avenue to the center line of Baynes Street; thence northerly along the center line
of Baynes Street to the center line of W. Delavan Avenue; thence easterly along the center line of W. Delavan
Avenue to the center line of Richmond Avenue; thence northerly along the center line of Richmond Avenue
to the center line of Potomac Avenue; thence easterly along the center line of Potomac Avenue to the center
line of Chapin Parkway; thence southeasterly along the center line of Chapin Parkway to the center line of
Saybrook Place; thence northeasterly and easterly along the center line of Saybrook Place to the center line
of Delaware Avenue; thence southerly along the center line of Delaware Avenue to the center line of W.
Delavan Avenue; thence easterly along the center line of W. Delavan Avenue to the center line of Main
Street; thence northeasterly along the center line of Main Street to the center line of Scajaquada Expressway;
thence southeasterly along the center line of Scajaquada Expressway to the center line of Kensington
Expressway; thence southerly along the center line of Kensington Expressway to the center line of E. Ferry
Street; thence easterly along the center line of E. Ferry Street to the center line of Fillmore Avenue; thence
southerly along the center line of Fillmore Avenue to the center line of Woodlawn Avenue; thence easterly
along the center line of Woodlawn Avenue to the center line of Kehr Street; thence northerly along the center
line of Kehr Street to the center line of E. Ferry Street; thence westerly along the center line of E. Ferry Street
to the center line of Dutton Avenue; thence northerly along the center line of Dutton Avenue extended across
the Conrail tracks and continuing along said roadway to the center line of Northland Avenue; thence westerly
along the center line of Northland Avenue to the center line of Chelsea Place; thence northerly along the
center line of Chelsea Place to the center line of E. Delavan Avenue; thence easterly along the center line of
E. Delavan Avenue to the point of its intersection with the easterly boundary of the city of Buffalo; thence
southerly along the easterly boundary of the city of Buffalo to its intersection with the center line of
Broadway Street, being the point of beginning; and

That part of the town of Cheektowaga bounded by a line described as commencing at the point of intersection
of the westerly boundary of the town of Cheektowaga with the center line of E. Delavan Avenue; thence
easterly along the center line of E. Delevan Avenue to the center line of Pine Ridge Heritage Boulevard;
thence southerly along the center line of Pine Ridge Heritage Boulevard to its point of intersection with the
center line of Pine Ridge Road; thence continuing southerly along the center line of Pine Ridge Road to the
center line of Walden Avenue; thence westerly along the center line of Walden Avenue to its intersection with
the westerly boundary of the town of Cheektowaga; thence northerly along the westerly boundary of the town
of Cheektowaga to its intersection with the center line of E. Delavan Avenue, being the point of beginning.

                                               DISTRICT NO. 4

The towns of Clarence and Newstead, including that portion of the Tonawanda Indian Reservation situated
therein, and those portions of the towns of Amherst and Lancaster bounded and described as follows:

That part of the town of Amherst bounded by a line described as commencing at the point of intersection of
the easterly boundary of the town of Amherst with the center line of Maple Road; thence westerly along the
center line of Maple Road to the center line of Ayer Road; thence northerly along the center line of Ayer
Road to the center line of Klein Road; thence easterly along the center line of Klein Road to the center line
of Paradise Road; thence northerly along the center line of Paradise Road to the center line of Casey Road;
thence westerly and northerly along the center line of Casey Road to the center line of Dodge Road; thence
northeasterly and northerly along the center line of Dodge Road to its point of intersection with the center
line of New Road; thence continuing northerly along the center line of New Road to the center line of Old
Oak Post Road; thence easterly and southerly along the center line of Old Oak Post Road to the center line
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of Fiddlers Green; thence southeasterly along the center line of Fiddlers Green to the center line of Ransom
Oaks Drive; thence easterly along the center line of Ransom Oaks Drive to the center line of Glen Oak Drive;
thence northeasterly in its meanderings along the center line of Glen Oak Drive to the center line of White
Cedar Drive; thence northwesterly and northeasterly along the center line of White Cedar Drive to the center
line of Smith Road; thence southeasterly along the center line of Smith Road to the center line of Glen Oak
Drive; thence easterly along the center line of Glen Oak Drive extended to a point being at the easterly
boundary of the town of Amherst; thence southerly along the easterly boundary of the town of Amherst to
its intersection with the center line of Maple Road, being the point of beginning; and

That part of the town of Lancaster excluding the incorporated village of Depew, and further excluding, that
portion bounded by a line described as commencing at the southwest corner of the town of Lancaster at its
intersection with the towns of Cheektowaga, Elma and West Seneca; thence northerly along the westerly
boundary of the town of Lancaster to the point of its intersection with the center line of Forestream Drive;
thence northeasterly along the center line of Forestream Drive to the center line of Foxwood Row; thence
northerly, easterly and southerly along the center line of Foxwood Row to the center line of Forestream Drive;
thence southeasterly along the center line of Forestream Drive to the center line of Enchanted Forest N.;
thence northerly and easterly along the center line of Enchanted Forest N. to the center line of Thomas Drive;
thence southerly along the center line of Thomas Drive to the center line of Southpoint Drive; thence
southeasterly in its meanderings along the center line of Southpoint Drive to the center line of Aurora Street;
thence southerly along the center line of Aurora Street to its intersection with the southerly boundary of the
town of Lancaster; thence westerly along the southerly boundary of the town of Lancaster to the southwest
corner thereof, being the point of beginning.

                                              DISTRICT NO. 5

The towns of Alden, Aurora, Colden, Elma, Holland, Marilla, Orchard Park, Sardinia and Wales, and that
portion of the town of Lancaster bounded and described as follows:

That part of the town of Lancaster bounded by a line described as commencing at the southwest corner of the
town of Lancaster at its intersection with the towns of Cheektowaga, Elma and W est Seneca; thence northerly
along the westerly boundary of the town of Lancaster to the point of its intersection with the center line of
Forestream Drive; thence northeasterly along the center line of Forestream Drive to the center line of
Foxwood Row; thence northerly, easterly and southerly along the center line of Foxwood Row to the center
line of Forestream Drive; thence southeasterly along the center line of Forestream Drive to the center line of
Enchanted Forest N.; thence northerly and easterly along the center line of Enchanted Forest N. to the center
line of Thomas Drive; thence southerly along the center line of Thomas Drive to the center line of Southpoint
Drive; thence southeasterly in its meanderings along the center line of Southpoint Drive to the center line of
Aurora Street; thence southerly along the center line of Aurora Street to its intersection with the southerly
boundary of the town of Lancaster; thence westerly along the southerly boundary of the town of Lancaster
to the southwest corner thereof, being the point of beginning.

                                              DISTRICT NO. 6

That portion of the town of Amherst bounded and described as follows:

Commencing at the southeast corner of the town of Amherst at its intersection with the towns of Cheektowaga
and Lancaster; thence westerly along the southerly boundary of the town of Amherst to the point of its
intersection with the line of Interstate 290; thence northwesterly along the line of Interstate 290 to the point
of its intersection with the center line of Maple Road; thence westerly along the center line of Maple Road
to the center line of Sweet Home Road; thence southwesterly along the center line of Sweet Home Road to
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the center line of Homecrest Drive; thence westerly along the center line of Homecrest Drive to the center
line of Hillcrest Drive; thence northerly along the center line of Hillcrest Drive to the center line of Maple
Road; thence westerly along the center line of Maple Road to the center line of N. Bailey Avenue; thence
northerly along the center line of N. Bailey Avenue to its point of intersection with the center line of Ridge
Lea Road; thence continuing northerly at the crest of the curve along the center line of N. Bailey Avenue
extended to a point being at its intersection with the line of Interstate 290; thence westerly along the line of
Interstate 290 to its point of its intersection with the westerly boundary of the town of Amherst; thence
northerly and westerly along the westerly boundary of the town of Amherst to its point of intersection with
the county of Niagara; thence northeasterly in its meanderings along the northerly boundary of the town of
Amherst to the northeast corner thereof; thence southerly along the easterly line of the town of Amherst to
its point of intersection with the center line of Glen Oak Drive extended to a point being at the easterly
boundary of the town of Amherst; thence easterly and continuing along the center line of Glen Oak Drive
to the center line of Smith Road; thence northwesterly along the center line of Smith Road to the center line
of White Cedar Drive; thence southwesterly and southeasterly along the center line of W hite Cedar Drive to
the center line of Glen Oak Drive; thence southwesterly in its meanderings along the center line of Glen Oak
Drive to the center line of Ransom Oaks Drive; thence westerly along the center line of Ransom Oaks Drive
to the center line of Fiddlers Green; thence northwesterly along the center line of Fiddlers Green to the center
line of Old Oak Post Road; thence northerly and westerly along the center line of Old Oak Post Road to the
center line of New Road; thence southerly along the center line of New Road to its point of intersection with
the center line of Dodge Road; thence continuing southerly and southwesterly along the center line of Dodge
Road to the center line of Casey Road; thence southerly and easterly along the center line of Casey Road to
the center line of Paradise Road; thence southerly along Paradise Road to the center line of Klein Road;
thence westerly along the center line of Klein Road to the center line of Ayer Road; thence southerly along
the center line of Ayer Road to the center line of Maple Road; thence easterly along the center line of Maple
Road to its intersection with the easterly boundary of the town of Amherst; thence southerly along the easterly
boundary of the town of Amherst to the southeast corner thereof, being the point of beginning.

                                               DISTRICT NO. 7

Those portions of the city of Buffalo and town of Cheektowaga bounded and described as follows:

That part of the city of Buffalo bounded by a line described as commencing at the point of intersection of the
easterly boundary of the city of Buffalo with the center line of E. Delevan Avenue; thence westerly along the
center line of E. Delavan Avenue to the center line of Chelsea Place; thence southerly along the center line
of Chelsea Place to the center line of Northland Avenue; thence easterly along the center line of Northland
Avenue to the center line of Dutton Avenue; thence southerly along the center line of Dutton Avenue
extended across the Conrail tracks and continuing along said roadway to the center line of E. Ferry Street;
thence easterly along the center line of E. Ferry Street to the center line of Kehr Street; thence southerly along
the center line of Kehr Street to the center line of Woodlawn Avenue; thence westerly along the center line
of Woodlawn Avenue to the center line of Fillmore Avenue; thence northerly along the center line of Fillmore
Avenue to the center line of E. Ferry Street; thence westerly along the center line of E. Ferry Street to the
center line of Kensington Expressway; thence northerly along the center line of Kensington Expressway to
the center line of Scajaquada Expressway; thence northwesterly along the center line of Scajaquada
Expressway to the center line of Main Street; thence southwesterly along the center line of Main Street to the
center line of E. Delavan Avenue; thence westerly along the center line of E. Delavan Avenue to the center
line of Delaware Avenue; thence northerly along the center line of Delaware Avenue to the center line of
Saybrook Place; thence westerly and southwesterly along the center line of Saybrook Place to the center line
of Chapin Parkway; thence northwesterly along the center line of Chapin Parkway to the center line of
Potomac Avenue; thence westerly along the center line of Potomac Avenue to the center line of Richmond
Avenue; thence southerly along the center line of Richmond Avenue to the center line of W. Delavan Avenue;
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thence westerly along the center line of W. Delavan Avenue to the center line of Baynes Street; thence
southerly along the center line of Baynes Street to the center line of Auburn Avenue; thence easterly along
the center line of Auburn Avenue to the center line of Putnam Street; thence southerly along the center line
of Putnam Street to the center line of Breckenridge Street; thence westerly along the center line of
Breckenridge Street to the center line of S. Putnam Street; thence southerly along the center line of S. Putnam
Street to the center line of W. Ferry Street; thence easterly along the center line of W. Ferry Street proceeding
counterclockwise around the roundabout to the center line of Richmond Avenue; thence southerly along the
center line of Richmond Avenue to the center line of Connecticut Street; thence southwesterly along the
center line of Connecticut Street to the center line of 16 th Street; thence southeasterly along the center line
of 16 th Street to the center line of York Street; thence southwesterly along the center line of York Street to
its point of intersection with the center line of Porter Avenue; thence continuing southwesterly along the
center line of Porter Avenue to the center line of 7 th Street (also designated as Columbus Parkway); thence
northwesterly along the center line of 7 th Street (also designated as Columbus Parkway) to the center line of
Rhode Island Street; thence southwesterly along the center line of Rhode Island Street to the center line of
Busti Avenue; thence northwesterly along the center line of Busti Avenue to the point of its intersection with
the center line of Massachusetts Avenue; thence southerly and westerly along the lines defined by the Peace
Bridge Plaza and infrastructure to a point in the Niagara River being at the westerly boundary of the city of
Buffalo; thence northerly along the westerly boundary of the city of Buffalo to a point in the Niagara River
at intersection with the line of the Harbour Place Marina pier extended; thence easterly along said line of the
Harbour Place Marina pier extended to the center line of Tonawanda Street at a point north of Arthur Street;
thence northwesterly along the center line of Tonawanda Street to the center line of Rano Street; thence
northeasterly along the center line of Rano Street to the center line of Crowley Avenue; thence northwesterly
along the center line of Crowley Avenue to the center line of Isabelle Street; thence northeasterly along the
center line of Isabelle Street to the center line of Laird Avenue; thence northwesterly along the center line of
Laird Avenue to the center line of Ontario Street; thence northeasterly along the center line of Ontario Street
proceeding counterclockwise around the roundabout and to its intersection with the northerly line of the city
of Buffalo; thence southeasterly and easterly along the northerly boundary of the city of Buffalo to the point
of its intersection with the center line of Elmwood Avenue; thence southerly along the center line of Elmwood
Avenue to the center line of Nottingham Terrace; thence northeasterly along the center line of Nottingham
Terrace to the center line of Amherst Street; thence easterly along the center line of Amherst Street to the
center line of Parkside Avenue; thence southerly along the center line of Parkside Avenue to the center line
of Jewett Parkway; thence easterly along the center line of Jewett Parkway to the center line of M ain Street;
thence northeasterly along the center line of Main Street to the center line of Fairfield Street; thence
northwesterly along the center line of Fairfield Street to the center line of Orchard Place; thence easterly and
southeasterly along the center line of Orchard Place to the center line of Main Street; thence northeasterly
along the center line of Main Street to the center line of Northrup Place; thence southeasterly and
northeasterly along the center line of Northrup Place to the center line of Winspear Avenue; thence easterly
along the center line of Winspear Avenue to the center line of Lebrun Road; thence along the center line of
Lebrun Road to its intersection with the easterly boundary of the city of Buffalo; thence easterly along said
boundary of the city of Buffalo to the point of its intersection with the northwest corner of the town of
Cheektowaga; thence southerly along the easterly boundary of the city of Buffalo to its intersection with the
center line of E. Delavan Avenue, being the point of beginning; and

That part of the town of Cheektowaga bounded by a line described as commencing at the point of intersection
of the westerly boundary of the town of Cheektowaga with the center line of E. Delavan Avenue; thence
easterly along the center line of E. Delevan Avenue to the center line of Pine Ridge Heritage Boulevard;
thence northerly along the center line of Pine Ridge Heritage Boulevard to its point of intersection with the
center line of Kensington Expressway; thence easterly along the center line of Kensington Expressway to the
center line of Harlem Road; thence northerly along the center line of Harlem Road to the center line of
Mafalda Drive; thence westerly along the center line of Mafalda Drive to the center line of Nina Place; thence
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northerly along the center line of Nina Place to the center line of Fontaine Drive; thence easterly along the
center line of Fontaine Drive to the center line of Sugnet Road; thence northerly along the center line of
Sugnet Road to the center line of Cleveland Drive; thence easterly along the center line of Cleveland Drive
to the center line of Liberty Terrace; thence northerly along the center line of Liberty Terrace to the center
line of Kensington Avenue; thence northeasterly along the center line of Kensington Avenue to the center
line of Washington Highway; thence northwesterly along the center line of Washington Highway to the
northerly boundary of the town of Cheektowaga; thence westerly along the northerly boundary of the town
of Cheektowaga to the northwest corner thereof; thence southerly along the westerly boundary of the town
of Cheektowaga to its intersection with the center line of E. Delavan Avenue, being the point of beginning.

                                                DISTRICT NO. 8

Those portions of the towns of Amherst, Cheektowaga and Lancaster bounded and described as follows:

That part of the town of Amherst bounded by a line described as commencing at the point of intersection of
the southerly boundary of the town of Amherst with the line of Interstate 290; thence northwesterly along the
line of Interstate 290 to the point of its intersection with the center line of Sheridan Drive; thence westerly
along the center line of Sheridan Drive to the center line of Campus Drive N.; thence southerly and westerly
along the center line of Campus Drive N. to its point of intersection with the center line of Campus Drive W.;
thence continuing westerly along the center line of Campus Drive W. to the center line of Getzville Road;
thence northerly along the center line of Getzville Road to the center line of Sheridan Drive; thence westerly
along the center line of Sheridan Drive to the center line of Millersport Highway; thence southwesterly along
the center line of Millersport Highway to the center line of Dellwood Road; thence southerly along the center
line of Dellwood Road to its point of intersection with the center line of Ivyhurst Circle; thence continuing
southwesterly along the center line of Ivyhurst Circle to the center line of Ivyhurst Road; thence southerly
along the center line of Ivyhurst Road to the center line of Main Street; thence southwesterly along the center
line of Main Street to its intersection with the northeasterly boundary of the city of Buffalo; thence southerly
along the meandering westerly border of the town of Amherst to the southwest corner thereof; thence easterly
along the southerly boundary of the town of Amherst to its intersection with the line of Interstate 290, being
the point of beginning; and

That part of the town of Cheektowaga bounded by a line described as commencing at the northeast corner
of the town of Cheektowaga at its intersection with the towns of Amherst and Lancaster; thence southerly
along the easterly boundary of the town of Cheektowaga to its intersection with the center line of Losson
Road; thence westerly along the center line of Losson Road to the center line of Bordon Road; thence
southerly along the center line of Bordon Road to the center line of Cherrywood Drive; thence westerly and
southerly along the center line of Cherrywood Drive continuing to its second intersection with the center line
of Baywood Drive; thence westerly along the center line of Baywood Drive to the center line of Wedgewood
Drive; thence northerly along the center line of Wedgewood Drive to the center line of Losson Road; thence
westerly along the center line of Losson Road to the center line of Union Road; thence northerly along the
center line of Union Road to the center line of William Street; thence westerly along the center line of
William Street to the point of its intersection with the line of Interstate 90; thence southwesterly along the
line of Interstate 90 to its point of intersection with the line of Interstate 190; thence continuing westerly along
the line of Interstate 190 to the point of its intersection with the westerly boundary of the town of
Cheektowaga; thence northerly along the westerly boundary of the town of Cheektowaga to its intersection
with the center line of Walden Avenue; thence easterly along the center line of W alden Avenue to the center
line of Pine Ridge Road; thence northeasterly along the center line of Pine Ridge Road to its point of
intersection with the center line of Pine Ridge Heritage Boulevard; thence continuing northerly along the
center line of Pine Ridge Heritage Boulevard to its point of intersection with the center line of Kensington
Expressway; thence easterly along the center line of Kensington Expressway to the center line of Harlem
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Road; thence northerly along the center line of Harlem Road to the center line of Mafalda Drive; thence
westerly along the center line of Mafalda Drive to the center line of Nina Place; thence northerly along the
center line of Nina Place to the center line of Fontaine Drive; thence easterly along the center line of Fontaine
Drive to the center line of Sugnet Road; thence northerly along the center line of Sugnet Road to the center
line of Cleveland Drive; thence easterly along the center line of Cleveland Drive to the center line of Liberty
Terrace; thence northerly along the center line of Liberty Terrace to the center line of Kensington Avenue;
thence northeasterly along the center line of Kensington Avenue to the center line of Washington Highway;
thence northwesterly along the center line of W ashington Highway to the northerly boundary of the town of
Cheektowaga; thence easterly along the northerly boundary of the town of Cheektowaga to the northeast
corner thereof, being the point of beginning; and

That part of the town of Lancaster comprising the incorporated village of Depew.

                                                DISTRICT NO. 9

The town of W est Seneca and those portions of the city of Buffalo and town of Cheektowaga bounded and
described as follows:

That part of the city of Buffalo bounded by a line described as commencing at the point of intersection of the
easterly boundary of the city of Buffalo with the center line of Broadway Street; thence southwesterly along
the center line of Broadway Street to the center line of Bailey Avenue; thence southerly along the center line
of Bailey Avenue to the center line of Seneca Street; thence southeasterly along the center line of Seneca
Street to the center line of Stevenson Street; thence southwesterly along the center line of Stevenson Street
to its point of intersection with the center line of Cazenovia Creek; thence southeasterly along the center line
of Cazenovia Creek to the point of its intersection with a line extended northwesterly along the easterly
boundary of the city of Buffalo from the point of its intersection with Potters Road; thence northerly,
southerly and northerly along the easterly boundary of the city of Buffalo to its intersection with the center
line of Broadway Street, being the point of beginning; and

That part of the town of Cheektowaga bounded by a line described as commencing at the southeast corner
of the town of Cheektowaga at its intersection with the towns of Elma, Lancaster and West Seneca; thence
northerly along the easterly boundary of the town of Cheektowaga to its intersection with the center line of
Losson Road; thence westerly along the center line of Losson Road to the center line of Bordon Road; thence
southerly along the center line of Bordon Road to the center line of Cherrywood Drive; thence westerly and
southerly along the center line of Cherrywood Drive continuing to its second intersection with the center line
of Baywood Drive; thence westerly along the center line of Baywood Drive to the center line of Wedgewood
Drive; thence northerly along the center line of Wedgewood Drive to the center line of Losson Road; thence
westerly along the center line of Losson Road to the center line of Union Road; thence northerly along the
center line of Union Road to the center line of William Street; thence westerly along the center line of
William Street to the point of its intersection with the line of Interstate 90; thence southwesterly along the
line of Interstate 90 to its point of intersection with the line of Interstate 190; thence continuing westerly along
the line of Interstate 190 to the point of its intersection with the westerly boundary of the town of
Cheektowaga; thence southerly along the westerly boundary of the town of Cheektowaga to the southwest
corner thereof; thence easterly along the southerly boundary of the town of Cheektowaga to the southeast
corner thereof, being the point of beginning.

                                               DISTRICT NO. 10

The city of Tonawanda and the town of Grand Island, and that portion of the town of Tonawanda bounded
and described as follows:
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That part of the town of Tonawanda bounded by a line described as commencing at a point in the northerly
boundary of the town of Tonawanda at the point of its intersection with the center line of Military Road;
thence southerly along the center line of Military Road to its intersection with the northerly boundary of the
incorporated village of Kenmore; thence easterly, northerly, easterly, southerly, easterly and southerly along
the northerly and easterly boundaries of the incorporated village of Kenmore to the point of its intersection
with the southerly line of the town of Tonawanda; thence easterly along the southerly boundary of the town
of Tonawanda to the center line of Louvaine Drive; thence northerly along the center line of Louvaine Drive
to the center line of Wilton Parkway; thence easterly along the center line of Wilton Parkway to the center
line of Parker Boulevard; thence northerly along the center line of Parker Boulevard to the center line of
Englewood Avenue; thence southeasterly along the center line of Englewood Avenue to the center line of
Parker Boulevard; thence northerly along the center line of Parker Boulevard to the center line of Chelsea
Street; thence easterly along the center line of Chelsea Street to the center line of Fairfield Avenue; thence
northerly along the center line of Fairfield Avenue to the center line of Decatur Road; thence easterly along
the center line of Decatur Road to its intersection with the easterly boundary of the town of Tonawanda;
thence northerly along the easterly boundary of the town of Tonawanda to the northeast corner thereof, thence
southwesterly along the northerly boundary of the town of Tonawanda to the point of its intersection with
the easterly line of the city of Tonawanda; thence southerly along the easterly line of the city of Tonawanda
to the southeast corner thereof; thence westerly along the northerly line of the town of Tonawanda to its
intersection with the center line of Military Road, being the point of beginning.

                                              DISTRICT NO. 11

Those portions of the city of Buffalo and towns of Amherst and Tonawanda bounded and described as
follows:

That part of the city of Buffalo bounded by a line described as commencing at a point in the northerly
boundary of the city of Buffalo at the point of intersection of the line of Kenmore Avenue with the line of
Vulcan Street; thence southwesterly along the northwesterly boundary of the city of Buffalo to a point in the
Niagara River along the westerly boundary of the city of Buffalo at intersection with the line of the Harbour
Place Marina pier extended; thence easterly along said line of the Harbour Place Marina pier extended to the
center line of Tonawanda Street at a point north of Arthur Street; thence northwesterly along the center line
of Tonawanda Street to the center line of Rano Street; thence northeasterly along the center line of Rano
Street to the center line of Crowley Avenue; thence northwesterly along the center line of Crowley Avenue
to the center line of Isabelle Street; thence northeasterly along the center line of Isabelle Street to the center
line of Laird Avenue; thence northwesterly along the center line of Laird Avenue to the center line of Ontario
Street; thence northeasterly along the center line of Ontario Street proceeding counterclockwise around the
roundabout and to its intersection with the northerly line of the city of Buffalo; thence northwesterly along
the said northerly boundary of the city of Buffalo to the point of intersection of the line of Kenmore Avenue
with the line of Vulcan Street, being the point of beginning; and further

That part of the city of Buffalo bounded by a line described as commencing at the point of intersection of the
northerly boundary of the city of Buffalo with the center line of Elmwood Avenue; thence southerly along
the center line of Elmwood Avenue to the center line of Nottingham Terrace; thence northeasterly along the
center line of Nottingham Terrace to the center line of Amherst Street; thence easterly along the center line
of Amherst Street to the center line of Parkside Avenue; thence southerly along the center line of Parkside
Avenue to the center line of Jewett Parkway; thence easterly along the center line of Jewett Parkway to the
center line of Main Street; thence northeasterly along the center line of Main Street to the center line of
Fairfield Street; thence northwesterly along the center line of Fairfield Street to the center line of Orchard
Place; thence easterly and southeasterly along the center line of Orchard Place to the center line of Main
Street; thence northeasterly along the center line of Main Street to the center line of Northrup Place; thence
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southeasterly and northeasterly along the center line of Northrup Place to the center line of Winspear Avenue;
thence easterly along the center line of W inspear Avenue to the center line of Lebrun Road; thence along the
center line of Lebrun Road to its intersection with the easterly boundary of the city of Buffalo; thence
northerly along the easterly boundary of the city of Buffalo to its point of intersection with the line of Main
Street; thence southwesterly and westerly along the northerly boundary of the city of Buffalo to its
intersection with the center line of Elmwood Avenue, being the point of beginning; and

That part of the town of Amherst bounded by a line described as commencing at the southwest corner of the
town of Amherst at its intersection with the city of Buffalo and town of Tonawanda; thence easterly and
northeasterly along the southerly boundary of the town of Amherst to a point in the line of Main Street at the
easterly border of the city of Buffalo; thence continuing northeasterly along the center line of M ain Street to
the center line of Ivyhurst Road; thence northerly along the center line of Ivyhurst Road to the center line of
Ivyhurst Circle; thence northeasterly along the center line of Ivyhurst Circle to its point of intersection with
the center line of Dellwood Road; thence continuing northerly along the center line of Dellwood Road to the
center line of Millersport Highway; thence northeasterly along the center line of Millersport Highway to the
center line of Sheridan Drive; thence easterly along the center line of Sheridan Drive to the center line of
Getzville Road; thence southerly along the center line of Getzville Road to the center line of Campus Drive
W.; thence easterly along the center line of Campus Drive W. to its point of intersection with the center line
of Campus Drive N.; thence easterly and northerly along the center line of Campus Drive N. to the center line
of Sheridan Drive; thence easterly along the center line of Sheridan Drive to the point of its intersection with
the line of Interstate 290; thence northwesterly along the line of Interstate 290 to the point of its intersection
with the center line of Maple Road; thence westerly along the center line of Maple Road to the center line
of Sweet Home Road; thence southwesterly along the center line of Sweet Home Road to the center line of
Homecrest Drive; thence westerly along the center line of Homecrest Drive to the center line of Hillcrest
Drive; thence northerly along the center line of Hillcrest Drive to the center line of Maple Road; thence
westerly along the center line of Maple Road to the center line of N. Bailey Avenue; thence northerly along
the center line of N. Bailey Avenue to its point of intersection with the center line of Ridge Lea Road; thence
continuing northerly at the crest of the curve along the center line of N. Bailey Avenue extended to a point
being at its intersection with the line of Interstate 290; thence westerly along Interstate 290 to its point of its
intersection with the westerly boundary of the town of Amherst; thence southerly along the westerly boundary
of the town of Amherst to the southwest corner thereof at its intersection with the city of Buffalo and town
of Tonawanda, being the point of beginning; and

That part of the town of Tonawanda comprising the incorporated village of Kenmore, and further

That part of the town of Tonawanda bounded by a line described as commencing at a point in the northerly
boundary of the town of Tonawanda at the point of its intersection with the center line of Military Road;
thence southerly along the center line of Military Road to its intersection with the southerly boundary of the
town of Tonawanda; thence westerly, northwesterly, southwesterly, southerly and northwesterly along the
southerly boundary of the town of Tonawanda to the point of its intersection with the town of Grand Island;
thence northerly along the westerly boundary of the town of Tonawanda to the point of its intersection in the
Niagara River with the northerly boundary of the town of Tonawanda; thence southeasterly, northeasterly
and easterly along the northerly boundary of the town of Tonawanda to its intersection with the center line
of Military Road, being the point of beginning, and further

That part of the Town of Tonawanda bounded by a line described as commencing at the southeast corner of
the town of Tonawanda at its intersection with the city of Buffalo and town of Amherst; thence westerly along
the southerly boundary of the town of Tonawanda to the center line of Louvaine Drive; thence northerly along
the center line of Louvaine Drive to the center line of Wilton Parkway; thence easterly along the center line
of Wilton Parkway to the center line of Parker Boulevard; thence northerly along the center line of Parker
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Boulevard to the center line of Englewood Avenue; thence southeasterly along the center line of Englewood
Avenue to the center line of Parker Boulevard; thence northerly along the center line of Parker Boulevard to
the center line of Chelsea Street; thence easterly along the center line of Chelsea Street to the center line of
Fairfield Avenue; thence northerly along the center line of Fairfield Avenue to the center line of Decatur
Road; thence easterly along the center line of Decatur Road to its intersection with the easterly boundary of
the town of Tonawanda; thence southerly along the easterly boundary of the town of Tonawanda to the
southeast corner thereof, being the point of beginning.

Section 2.

If any clause, sentence, paragraph, section or article of this local law shall be adjudged by any court of
competent jurisdiction to be invalid, such determination shall not affect, impair or invalidate the remainder
thereof, but shall be confined in its operation to the clause, sentence, paragraph, section or article thereof
directly involved in the proceeding in which such adjudication shall have been rendered.

Section 3.

This local law shall take effect immediately upon adoption and filing with the secretary of state, provided
however, that the fifteen legislative districts as previously bounded and described by Local Law No. 4-2002,
shall continue as such for the limited purpose of continuing in office the legislators presently elected from
said districts and shall cease to exist as such on January 1, 2012.


Sponsored By:




________________________________
Barbara Miller-Williams
Legislator, 3 rd District
